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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  ANTHONY BELFIORE, on behalf of himself
  and all others similarly situated,
                                           14 Civ. 4090 (PKC)(RML)
        Plaintiff,

                v.

  THE PROCTER & GAMBLE COMPANY,

        Defendant.



  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF UNOPPOSED MOTION
     FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT, AWARD OF
  ATTORNEYS’ FEES, REIMBURSEMENT OF OUT-OF-POCKET EXPENSES, AND
                  CLASS REPRESENTATIVE PAYMENT
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                                        INTRODUCTION

       Plaintiff Anthony Belfiore respectfully submits this memorandum in support of his motion

for final approval of a proposed class action settlement (the “Settlement”) with Defendant The

Procter & Gamble Company (“P&G”), the terms and conditions of which are set forth in the

“Settlement Agreement” (Dkt. No. 351-3), as well as for an award of attorneys’ fees, reimbursement

of out-of-pocket expenses, and a Class Representative Payment.1 P&G does not oppose this motion

and has approved the form of the proposed Order of Final Approval submitted herewith.

       This memorandum reincorporates and supplements the arguments made in Plaintiff’s

previous application for preliminary approval of the Settlement, which the Court approved by order

dated March 6, 2020 (Dkt. No. 352) (the “Preliminary Approval Order”). To promote judicial

efficiency, this memorandum also incorporates and assumes familiarity with the Court’s recitals

and findings in the Preliminary Approval Order. See generally id.

       The Settlement Agreement dated February 10, 2020 was presented to the Court as Exhibit

1 to the Declaration of Matthew Insley-Pruitt dated March 5, 2020 filed in support of Plaintiff’s

motion for preliminary approval (“MIP Prelim. Decl.”) (Dkt. No. 351-2). Since the Court granted

preliminary approval of the Settlement, Settlement Class Members have made 39,238 total claims,

with only five (5) requests for exclusion and zero (0) objections to any part of the Settlement or the

fee and expense application. See Declaration of Matthew Insley-Pruitt dated June 11, 2020, filed

in support of the instant motion (“MIP Final Decl.”), ¶ 36. This overwhelmingly positive reaction

by the Class weighs in the strongest terms in favor of final approval.




1
  The notices, claim form, and proposed orders are also attached as exhibits to the Settlement
Agreement. Unless otherwise indicated, capitalized terms are defined in the Settlement Agreement
and all emphasis is added.
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          As set forth in further detail below, this Settlement easily meets the criteria set forth in Fed.

R. Civ. P. 23(e)(2) and City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974). Moreover,

Plaintiff’s request for attorneys’ fees also satisfies Goldberger v. Integrated Res., 209 F.3d 43, 44

(2d Cir. 2000). Accordingly, Plaintiff requests that the Court approve the Settlement and his request

for attorneys’ fees (in the amount of $2,997,161.93), costs and expenses (in the amount of

$202,838.07), and a Class Representative Payment (in the amount of $10,000).

                  BACKGROUND FACTS AND DETAILS OF SETTLEMENT

Litigation History

          In 2014, Plaintiff filed a suit against P&G in N.Y. Supreme Court, Nassau County, alleging,

among other things, that Charmin Freshmates Flushable Wipes and any other pre-moistened wipes

sold under the Charmin brand name bearing the word “flushable” on the package label (the

“Product”) were falsely advertised as “flushable” in violation of New York G.B.L. § 349.2 See MIP

Final Decl. ¶ 3. Thereafter, Defendants removed the Action to the Eastern District of New York.

See id.

          Pursuant to the Court’s order, the Parties conducted discovery and submitted briefing on

class certification, along with the plaintiff in Kurtz v. Kimberly-Clark, No. 14 Civ. 1142 (E.D.N.Y.)

(the “Kimberly-Clark Action”).3 Following the submission of briefing, the Court held two days of

evidentiary hearings regarding the flushability of the Product, as well as the similar products in the

Kimberly-Clark Action, where “[e]xtensive scientific testimony and demonstrations were

introduced, showing advantages of the products and potential difficulties and concerns relied upon


2
  P&G denies Plaintiff’s allegations in this Action and maintains that the Product performs as
advertised.
3
 This Action was coordinated before Judge Weinstein with the Kimberly-Clark Action for pre-trial
purposes, which alleges that flushable wipes manufactured by Kimberly-Clark Corp. and Costco
Wholesale Corp. also violate, inter alia, N.Y. G.B.L. § 349.
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by the plaintiffs; enough evidence was produced to warrant consideration of certification issues.”

Kurtz v. Kimberly-Clark Corp., 321 F.R.D. 482, 494 (E.D.N.Y. 2017). On March 27, 2017, the

Court certified the following class: “All persons and entities who purchased Charmin Freshmates

in the State of New York between May 23, 2011 and March 1, 2017” (the “Class”). Id. at 554-55.

       P&G filed an interlocutory appeal (the “Appeal”), and, on May 14, 2019, the Court of

Appeals for the Second Circuit remanded the Action to allow the Parties to submit additional

evidence sufficient to determine whether Plaintiff satisfied Rule 23(b)(3)’s predominance

requirement and whether to decertify the damages classes or maintain the current certification

orders. Dkt. No. 274. The Court then held four days of evidentiary hearings where expert testimony

was presented regarding the ability to determine damages class-wide using regression analyses.

MIP Final Decl. ¶ 12. After the Parties submitted post-hearing briefing, on October 25, 2019, the

Court renewed its prior certification order. Kurtz v. Kimberly-Clark Corp., 414 F. Supp. 3d 317

(E.D.N.Y. 2019).

       P&G continued its appeal, and pursuant to the Second Circuit’s mandate, this latest appeal

of the certification of the Class has returned to the same panel on the Second Circuit. P&G

submitted its appellate brief on January 10, 2020. Plaintiff filed its opposition to P&G’s appellate

brief on March 10, 2020. See MIP Final Decl. ¶ 26.

       Soon after this case was filed, Judge Weinstein encouraged the Parties to discuss a

settlement that would involve a claims-made structure and changed practices. Belfiore v. Procter &

Gamble Co., 140 F. Supp. 3d 241, 248 (E.D.N.Y. 2015); see also Kurtz, 321 F.R.D. 482 (reviewing

continued efforts by the Court to encourage settlement); Kurtz, 414 F. Supp. 3d at 336 (continuing

to encourage settlement). Per the Court’s suggestion, Plaintiff, through his counsel, participated in

numerous settlement discussions with P&G, including in-person discussions before Magistrate



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Judge Robert M. Levy starting in August 2015 and continuing with multiple in-person and

telephonic meetings through the end of May 2016. See, e.g., Docket Minute Entries for August 12,

2015; November 24, 2015; January 13, 2016; January 21, 2016; February 24, 2016; March 28,

2016; April 25, 2016; May 18, 2016.

The Pettit Settlement

          On August 3, 2017, the Northern District of California certified the following class in Pettit

v. Procter & Gamble Co., No. 15-cv-02150-RS (the “Pettit Action”), a case addressing the same

Product from the same defendant (i.e. P&G’s Freshmates):

                 All persons who, between April 6, 2011 and August 3, 2017 purchased in
                 California the Charmin Freshmates Flushable Wipes (excluding purchases
                 for purpose of resale).

2017 U.S. Dist. LEXIS 122668, at *4 (N.D. Cal. Aug. 3, 2017) (the “Pettit Class”). The Pettit

decision relied in part on the prior decisions of Judge Weinstein certifying the Class in this Action.

See id.

          The Pettit Action settled following a mediation before Robert A. Meyer of JAMS ADR,

Inc. in Chicago, Illinois on April 17, 2018. Pettit Action, Dkt. No. 117 at 5.4 The “Pettit

Settlement” was finally approved by Judge Richard Seeborg of the U.S. District Court for the

Northern District of California on April 2, 2019, on behalf of a national class of purchasers of the

Product, excluding purchases made in New York. Specifically, the Pettit Settlement (Dkt. No. 351-

6) provided the following benefits to Pettit Class members in 49 states:

          Monetary relief: Pettit Class members could file a claim for a cash payment of sixty cents

($0.60) for each package of the Product purchased in the United States (except in New York) during

the Class Period (i.e., between April 6, 2011 and the date of preliminary approval of the Pettit


4
  Counsel for plaintiffs in the Pettit Action also participated alongside Plaintiff’s Counsel in Belfiore
in the prior discussions before Magistrate Judge Levy in the Eastern District of New York.
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 Settlement), regardless of the price the Pettit Class member paid for the package or the number of

 wipes contained in each package, subject to the following limitations: (a) a maximum of four dollars

 and twenty cents ($4.20) shall be paid on the combined claims submitted by any Household for

 claimed purchases that are not corroborated by Proof of Purchase, and (b) a maximum of thirty

 dollars ($30.00) shall be paid on the combined claims submitted by any Household for claimed

 purchases that are corroborated by Proof of Purchase. Therefore, the maximum payment to any

 Household could not exceed thirty dollars ($30.00) under the Pettit Settlement.

        Changed practices: The Pettit Settlement contemplated changed practices, some of which

 had already occurred, as well as injunctive relief. Partly as a result of the Pettit Action and this

 Action, P&G has stopped manufacturing the Product in the formulation(s) that it used at the time

 the cases were commenced. See, e.g., Gutride Decl., Ex. 1 at § 3.10, cited in Pettit Action, Dkt.

 No. 117 at 6; MIP Prelim. Decl. Ex. 4 at ¶ 3.1. P&G also agreed that versions of the Product

 manufactured after January 2016 do not and will not contain bicomponent (polyester/polyolefin)

 fibers. See id. Further, P&G agreed that, for a period ending two years after the effective date (as

 defined in the Pettit Settlement), it shall be enjoined by the court in the Pettit Action as follows:

            a) As of the effective date, Product marketed by P&G will not contain
               bicomponent (polyester/polyolefin) fibers;

            b) On or before 90 days after the effective date, P&G will modify the packaging
               of the Product to include a statement that “Your satisfaction is guaranteed.
               For details of our refund program go to our website at
               www.______.com/______.” P&G will provide details regarding the
               satisfaction guarantee on the Charmin website, including reasonable
               purchase price refunds to consumers who are dissatisfied with the Product;

            c) On or before 90 days after the effective date, P&G will modify the packaging
               of the Product to include the statement: “Use only in well-maintained
               plumbing systems”;

            d) As of the effective date, the Product will comply with current and future
               versions of the INDA Guidelines, including the slosh box test, provided P&G

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                is a member of INDA and the organization maintains the same purpose and
                mission, with a similar membership composition, as of the date of the
                Agreement;

            e) The Product marketed by P&G on or after June 13, 2018, will comply with
               the May 2018 more stringent INDA GD4 test protocols which among other
               things (1) decrease the slosh box test duration from 180 minutes to 60
               minutes, (2) increase the slosh box text pass-through percentage requirement
               from 25% to 60%, and (3) decrease the municipal pump test average power
               increase over baseline from 15% to 5%.

 P&G’s consent to adoption of the GD4 protocols, and its further consent to compliance with the

 more stringent GD4 protocols from June 13, 2018 forward (and before industry-wide compliance

 to GD4), was made in part due to the pendency of the Pettit Action and this Action. Indeed,

 pursuant to the Settlement of this Action, P&G has agreed to be enjoined by the Court regarding

 items (a)-(e) above for an extended period now ending two years after the Effective Date of the

 Settlement. See Settlement Agreement, Section 3.2.5

 The Settlement of This Action

        The proposed Settlement of this Action was reached following more than 6 years of intense,

 hard-fought litigation before the Court and in the Second Circuit Court of Appeals, which included

 several rounds of arm’s-length settlement discussions between experienced counsel and before

 experienced mediators, most recently before Chief Magistrate Judge Gold of this Court on

 November 25, 2019. See generally MIP Final Decl.

        The Settlement of this Action is on behalf of purchasers of the Product in New York.

 Specifically, the proposed Settlement provides for significant monetary and other benefits, each of

 which goes beyond the benefits received by the Pettit Class members. Notably, the Settlement



 5
  As in Pettit, the distribution or sales by P&G or by third parties of Product manufactured prior the
 implementation of the labeling changes described in the Pettit Settlement do not constitute a
 violation of the Settlement Agreement or the injunction under the Settlement Agreement in this
 Action.
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 Agreement expressly concedes that this Action contributed to the benefits obtained for the Pettit

 Class and future Product purchasers. Settlement Agreement ¶ 3.2; Preliminary Approval Order at 3

 (“P&G agreed to the terms of the Pettit settlement partly as a result of this Action and has agreed to

 continue the injunction in the Pettit action for a period of two years from the Effective Date of the

 settlement.”).

         Monetary Relief

         This Settlement provides that Settlement Class Members can receive $0.70 per package if

 they do not have Proof of Purchase, or, if they do have Proof of Purchase, they can receive $1.20

 for the first package and $1.00 for each subsequent package. The Settlement Agreement details

 how the claims will be paid:

                  4.4      Each Settlement Class Member who submits a Valid Claim without
                  Proof of Purchase shall receive a refund of seventy cents ($0.70) for each
                  Product package purchased in New York during the Class Period, regardless
                  of the price the Settlement Class Member paid for the package or the number
                  of wipes contained in each package, subject to the following limitations: A
                  maximum of six dollars and thirty cents ($6.30) shall be paid on the
                  combined claims submitted by any Household for claimed purchases that are
                  not corroborated by Proof of Purchase. Each Settlement Class Member who
                  submits a Valid Claim corroborated by Proof of Purchase shall receive a
                  refund of one dollar and twenty cents ($1.20) for the first Product package
                  purchased in New York during the Class Period, and one dollar ($1.00) for
                  any additional Product packages purchased in New York during the Class
                  Period, regardless of the price the Settlement Class Member paid for the
                  package or the number of wipes contained in each package, subject to the
                  following limitation: A maximum of fifty dollars and twenty cents ($50.20)
                  shall be paid on the combined claims submitted by any Household for
                  claimed purchases that are corroborated by Proof of Purchase. In no event
                  shall (i) the maximum payment to any Household exceed fifty dollars and
                  twenty cents ($50.20), or (ii) a Settlement Class Member receive a payment
                  for a purchase of the Product they did not affirmatively claim on the Claim
                  Form.

 Settlement Agreement ¶ 4.4. The claim form is a simple one-page form that can be completed in a

 few minutes. It can be completed online or submitted by mail. Proof of Purchase can also be



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 submitted electronically (unless it is in the form of the actual label or bar code portion of the product

 package) or in hard copy. See generally id.

         Changed Practices

         In addition to the changed practices achieved in the Pettit Settlement described above, as

 well as the injunction that will be extended for two years from the Effective Date of the Settlement

 here, the proposed Settlement goes further. Significantly, pursuant to the Settlement Agreement,

 P&G has agreed to remove that part of the current Product label that says “septic safe” and “safe

 for sewers and septic systems.”       Settlement Agreement ¶ 3.3(a).         Notwithstanding that the

 allegations by plaintiffs in the Pettit Action strongly criticized these statements, the Pettit

 Settlement failed to have that portion of the Product label removed. The proposed Settlement

 remedies this concern.

         Notice Plan

         Final details relating to the implementation of the Notice Program will be set forth in the

 declaration by the Claim Administrator (Heffler Claims Group, or “Heffler”), to be filed on July 9,

 2020. In the meantime, Heffler has been providing Plaintiff’s Counsel with updates on the claims

 administration and notice process. MIP Final Decl. ¶ 36.

         As required by the Settlement Agreement, notice of the Settlement was provided to the

 Settlement Class Members via several methods, including (1) advertisements in People Magazine,

 (2) more than 12 million impressions of online advertising targeted to likely users of the Product,

 and (3) a press release through a national wire service, a notice program substantially similar to the

 one approved by the Court in connection with the Pettit Settlement. All costs of notice and

 administration of the proposed Settlement will be paid by P&G.

         In accordance with paragraph 6 of the Preliminary Approval Order, Heffler, which was the

 claim administrator used in connection with the Pettit Settlement (and thus has experience in a

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 substantially similar settlement administration), had designed the notice plan and has attested that

 notice will reach a substantial majority of likely Settlement Class Members. See generally MIP

 Prelim. Decl. Ex. 3 (Declaration of Jeanne C. Finegan (“Finegan Decl.”)). Heffler has established

 a Settlement Website (https://www.belfiorewipesettlement.com/), which contains the Settlement

 notices, a contact information page that includes the address and telephone numbers for the Claim

 Administrator and Plaintiff’s Counsel, the Settlement Agreement, the signed Preliminary Approval

 Order, online and printable versions of the claim form and the opt out forms, answers to frequently

 asked questions, and (after today) Plaintiff Counsel’s motion for final approval of the Settlement

 and for an award of attorneys’ fees, costs, expenses and Class Representative Payment (i.e. this

 Memorandum). See Settlement Agreement ¶ 5.1.

        The Notice, published in several places, all refer Settlement Class Members to the

 Settlement Website. Settlement Agreement, Ex. A. As will be described in the Heffler Declaration,

 the Published Notice appeared in People Magazine in the April 20, 2020 issue, a nationwide press

 release was issued, and more than 12 million impressions of online advertising were targeted to

 reach likely consumers of the Product. Id.; see also MIP Final Decl. ¶ 36. Finally, the Claims

 Administrator has been operating a toll-free information line to provide information about the case

 and Settlement. Settlement Agreement, Ex. A.

        The Court previously found upon preliminary approval of the Settlement that this Notice

 plan is sufficient as to form and substance. Preliminary Approval Order ¶¶ 8, 9.

 Class Reaction to the Settlement

        As of June 5, 2020, Heffler reports 39,238 total claims, with five (5) requests for exclusion

 and zero (0) objections to the Settlement, fee and expense application or the Class Representative

 Payment. The number of claims filed to date is approximately 20.9% of the claims filed in the



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 Pettit Settlement,6 despite the current Settlement Class comprising only 6% of the population of the

 Pettit Class and significant time remaining for claims to be filed,7 suggesting that this Settlement is

 appealing to the Class.

                                             ARGUMENT

 I.       FINAL APPROVAL OF THE SETTLEMENT IS WARRANTED

          Although Rule 23(e) requires court approval of a class settlement, there is a “strong judicial

 policy in favor of settlements, particularly in the class action context.” See Wal-Mart Stores, Inc. v.

 Visa U.S.A. Inc., 396 F.3d 96, 116 (2d Cir. 2005) (citation omitted). “A class action settlement

 approval procedure typically occurs in two stages: (1) preliminary approval—where prior to notice

 to the class, a court makes a preliminary evaluation of fairness, and (2) final approval—where notice

 of a hearing is given to the class members, and class members and settling parties are provided the

 opportunity to be heard on the question of final court approval.” In re Payment Card Interchange

 Fee & Merch. Disc. Antitrust Litig., No. 05-MD-1720 (MKB) (JO), 2019 U.S. Dist. LEXIS 217583,

 at *180 (E.D.N.Y. Dec. 16, 2019) (“Payment Card II”) (formatting and internal quotations omitted).

 This Court completed the first stage by granting preliminary approval of the Settlement by order

 dated March 6, 2020 (Dkt. No. 352, the Preliminary Approval Order). The Court should now

 complete the second stage by considering the factors set forth in Fed. R. Civ. P. 23(e)(2), i.e.,

 whether:

                  (A)    the class representatives and class counsel have adequately represented the
                         class;
                  (B)    the proposal was negotiated at arm’s length;



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  The Pettit Settlement had a final total of 187,860 claims filed. No. 15 Civ. 2150, Dkt. No. 139
 (N.D. Cal. July 17, 2019).
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     The deadline for Settlement Class Members to file a claim is August 22, 2020.

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                (C)     the relief provided for the class is adequate, taking into account:
                        (i)     the costs, risks, and delay of trial and appeal;
                        (ii)    the effectiveness of any proposed method of distributing relief to
                                the class, including the method of processing class-member claims,
                                if required;
                        (iii)   the terms of any proposed award of attorney’s fees, including
                                timing of payment; and
                        (iv)    any agreement required to be identified under Rule 23(e)(3); and
                (D)     the proposal treats class members equitably relative to each other.

 Fed. R. Civ. P. 23(e)(2). The first two requirements (paragraphs A and B) constitute the procedural

 aspects of the proposed Settlement while the last two (paragraphs C and D) constitute the

 substantive aspects of the proposed Settlement. Payment Card II, 2019 U.S. Dist. LEXIS 217583,

 at *180. The Court also concurrently considers the nine factors listed in City of Detroit v. Grinnell

 Corp., 495 F.2d 448 (2d Cir. 1974) (“Grinnell”),8 which “significant[ly] overlap” with Rule

 23(e)(2). Payment Card II, 2019 U.S. Dist. LEXIS 217583, at *180. Recognizing this substantial

 overlap, Judge Brodie commented that only three Grinnell factors are unique: “the ability of the

 defendants to withstand a greater judgment; the range of reasonableness of the settlement fund in

 light of the best possible recovery; and the range of reasonableness of the settlement fund to a

 possible recovery in light of all the attendant risks of litigation.” In re Payment Card Interchange

 Fee & Merch. Disc. Antitrust Litig., 330 F.R.D. 11, 29 n.22 (E.D.N.Y. 2019) (“Payment Card I”);



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   Those factors are: (1) the complexity, expense and likely duration of the litigation; (2) the reaction
 of the class to the settlement; (3) the stage of the proceedings and the amount of discovery
 completed; (4) the risks of establishing liability; (5) the risks of establishing damages; (6) the risks
 of maintaining the class through the trial; (7) the ability of the defendants to withstand a greater
 judgment; (8) the range of reasonableness of the settlement fund in light of the best possible
 recovery; and (9) the range of reasonableness of the settlement fund to a possible recovery in light
 of all the attendant risks of litigation. See Payment Card II, 2019 U.S. Dist. LEXIS 217583, at *181
 (citing, e.g., Grinnell, 495 F.2d at 463) (other citations omitted).

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 but see Padovano v. FedEx Ground Package Sys., No. 16-CV-17-FPG, 2019 U.S. Dist. LEXIS

 107092, at *7 n.2 (W.D.N.Y. June 10, 2019) (recognizing the new Rule 23(e)(2) factors are so

 similar to the Grinnell factors that no separate analysis is necessary).

        Since the recent amendments to Rule 23 created a “more exacting” standard for preliminary

 approval than was previously required, on final approval, the Court may properly “refer[] to its

 reasoning as set forth in the Preliminary Approval Order where it finds that the reasoning still stands

 after having considered the motions papers and objections.” Payment Card II, 2019 U.S. Dist.

 LEXIS 217583, at *180.

        A.      The Settlement Class Should Be Certified

        “The ultimate decision to certify the class for purposes of settlement” is easy here because

 Judge Weinstein already certified the Class after years of motion practice, evidentiary hearings, and

 multiple opinions. See Fed. R. Civ. P. 23; id., Committee Notes (“[The] procedural requirements

 apply in instances in which the court has not certified a class at the time that a proposed settlement

 is presented to the court.”). Indeed, the Court in its Preliminary Approval Order certified a

 Settlement Class consisting of “all Persons who purchased the Product in the United States between

 May 24, 2011 and the date of Preliminary Approval, excluding purchases made outside the State of

 New York and purchases made for purposes of resale,” and appropriately excluding certain persons.

 Preliminary Approval Order ¶ 3. For the same reasons the Court preliminarily found that the

 Settlement Class should be certified (id. ¶ 4), the Settlement Class should be finally certified.

        B.      The Settlement Is Fair, Reasonable, and Adequate

        “[P]erhaps the most significant factor to be weighed in considering [the] adequacy” of a

 settlement is the “reaction of the class”; “a favorable reception by the class constitutes strong

 evidence that a proposed settlement is fair.” Payment Card II, 2019 U.S. Dist. LEXIS 217583, at


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 *186-87 (internal citations and quotations omitted). While “a certain number of objections are to

 be expected in a class action with an extensive notice campaign and a potentially large number of

 class members . . . [,] [i]f only a small number of objections are received, that fact can be viewed

 as indicative of the adequacy of the settlement.” Id. (citing, e.g., Visa, U.S.A., 396 F.3d at 118).

        To date, with nearly 40,000 claims already made, there have been only five (5) requests for

 exclusion and no objections to the Settlement, which weighs in the strongest terms in favor of final

 approval. See id.; MIP Final Decl. ¶ 36. Additionally, the number of claims to date is equal to

 20.9% (39,238/187,860) of the total claims filed in the Pettit Settlement, despite the current New

 York only Settlement Class comprising only 6% of the population of the 49-state Pettit Class, and

 despite more than two months remaining for additional claims to be made, further indicating that

 this Settlement is appealing to the Settlement Class Members. Accordingly, for this reason and

 those set forth below, the Court can assure itself that the Settlement satisfies both the procedural

 and substantive requirements of Rule 23(e)(2), as well as the non-duplicative Grinnell factors.9

                1.      The Settlement Is the Result of a Fair, Reasonable, and Adequate Process

        Plaintiff Belfiore and Class Counsel have more than adequately represented the Settlement

 Class through years of hard fought litigation against Defendant, which has culminated in a

 Settlement that was negotiated at arm’s length. MIP Final Decl. ¶ 3; see Visa, U.S.A., 396 F.3d at

 116 (internal citation omitted) (“A presumption of fairness, adequacy, and reasonableness may

 attach to a class settlement reached in arm’s-length negotiations between experienced, capable

 counsel after meaningful discovery.”).




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   P&G, while continuing to deny all allegations raised in the Complaint and maintaining that its
 Product performs as advertised, also believes the Settlement is fair, reasonable, and in P&G’s
 interest to avoid further expense, inconvenience, and interference with its ongoing business
 operations. Settlement Agreement ¶ 1.9.
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        Class Counsel has vigorously litigated this Action since 2014. See MIP Final Decl. ¶ 3. In

 that time, counsel have had more than thirty appearances before Judge Weinstein and the Magistrate

 Judges, including oral arguments, evidentiary hearings, settlement conferences, and status

 conferences. See generally id. Class Counsel has opposed Defendant’s plethora of substantive

 motions, including its original motion to dismiss (Dkt. No. 17), a renewed motion to dismiss (Dkt.

 No. 222), a motion to deny class certification (Dkt. No. 59), two motions to decertify the class (Dkt.

 Nos. 222, 294), and a motion for summary judgment (Dkt. No. 222). Class Counsel has also

 litigated its own motions, such as the motion to certify the Class (Dkt. No. 58), a motion to compel

 production from third parties (Dkt. No. 123), a motion to reconsider the order of October 5, 2015

 temporarily staying the case (Dkt. No. 157), responses to the Court’s request for additional briefing

 on several topics (e.g., Dkt. Nos. 129, 139), a motion to extend and amend the class definition (Dkt.

 No. 307), and post-evidentiary hearing briefing (Dkt. No. 330). Class Counsel also litigated the

 interlocutory appeal to the Second Circuit pursuant to Rule 23(f). MIP Final Decl. ¶¶ 19, 26. On

 balance, Plaintiff has been very successful by, among many other things, maintaining the Action,

 obtaining class certification despite vigorous opposition, and sustaining that decision after four days

 of expert testimony on remand from the Second Circuit. See generally id.

        Plaintiff’s Counsel have also conducted discovery of both Defendant and third parties

 leading up to this point. MIP Final Decl. ¶¶ 6, 10. In this regard, Plaintiff’s Counsel deposed four

 of Defendant’s witnesses pursuant to Rule 30(b)(6). Id. ¶ 9. In addition, Plaintiff’s Counsel has

 reviewed over 80,000 pages of documents produced by Defendant and presented the testimony of

 three witnesses over multiple days of in-Court hearings. Id. ¶¶ 6, 12, 15, 23. Moreover, Plaintiff’s

 Counsel defended the deposition of Plaintiff, Plaintiff’s wife, Plaintiff’s plumber, and two of

 Plaintiff’s experts. Id. ¶ 8. This record makes it clear that Plaintiff’s Counsel was fully informed



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 as to the viability of the claims and the risks to both sides if the case did not settle. See generally

 id.; see also Preliminary Approval Order at 3 (“Substantial discovery was taken by the parties.”);

 id.at 4 (“Plaintiff and his counsel had sufficient information to evaluate the strengths and

 weaknesses of the case and to conduct informed settlement discussions.”).

        The Parties negotiated the proposed Settlement in good faith over years. MIP Final Decl.

 ¶ 27. Settlement discussions first began in 2015 under the supervision of Magistrate Judge Levy,

 and renewed recently with mediation before Magistrate Judge Gold. Id. With a framework

 established by these discussions, the Pettit Settlement, and Judge Weinstein’s instructions, Counsel

 for both Parties continued their settlement negotiations over several months leading to the execution

 of the Settlement Agreement. See id. Counsel for both sides are experienced class action attorneys

 and have fully evaluated the strengths, weaknesses, and equities of their positions. See generally

 id. Plaintiff’s Counsel believes the Settlement to be in the best interests of the Settlement Class,

 considering the costs and risks of continued litigation. Id. ¶ 2. The opinion of experienced counsel

 supporting the Settlement is entitled to considerable weight. See, e.g., Chavarria v. N.Y. Airport

 Serv., LLC, 875 F. Supp. 2d 164, 172 (E.D.N.Y. 2012); In re Michael Milken & Assocs. Sec. Litig.,

 150 F.R.D. 46, 56 (S.D.N.Y. 1993). For all these reasons, the Court should find that the Settlement

 is the result of a fair, reasonable, and adequate process. See Plumbers’ & Pipefitters’ Local #562

 Supplemental Plan & Trust v. J.P. Morgan Acceptance Corp. I, No. 08 Civ. 1713 (PKC), Slip Op.

 at 4 ¶ 6 (E.D.N.Y. July 24, 2014) (Chen, J.) (finding “that the Settlement is, in all respects, fair,

 reasonable, and adequate, and in the best interests of the Class” where “the Settlement set forth in

 the Stipulation is the result of arm’s-length negotiations between experienced counsel representing

 the interests of the Settling Parties” and “the record is sufficiently developed and complete to have




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 enabled Lead Plaintiff and Defendants to have adequately evaluated and considered their

 positions”).

                2.      The Settlement Provides Fair, Reasonable, and Adequate Substance for
                        Settlement Class Members

        In line with the instructions of Rule 23(e)(2)(B), Courts have long recognized that

 “[e]ssential to analyzing a settlement’s fairness is ‘the need to compare the terms of the compromise

 with the likely rewards of litigation.’” See In re Citigroup Inc. Sec. Litig., 965 F. Supp. 2d 369,

 384 (S.D.N.Y. 2013). The question for the Court is not whether the Settlement represents the

 highest recovery possible, but whether it represents a reasonable one in light of the many

 uncertainties the Class faces. Id.

        The Court made clear over the years that it believed that the Class is best served by a

 meaningful settlement instead of continued litigation. Almost five years ago, Judge Weinstein

 instructed that “the easiest way to settle this—because the damages don’t seem to be to me very

 easily ascertained—is through the injunction without damages and just put in a plain forthright

 statement . . . . Flush after putting one in the toilet and make sure your toilets are in good shape[.]”

 Hearing Tr. March 31, 2015 at 22:16–:23 (MIP Prelim. Approval Decl., Exhibit 5). This Settlement

 does much more than that, since it provides a real financial recovery as well as improved disclosures

 on the Product and injunction-like relief. Supra pp. 6-9.

        Similarly, Judge Weinstein more recently requested the Parties to explore a settlement that

 “would harmonize any relief granted by this court with that afforded by the geographically

 expansive Procter & Gamble settlement [i.e. the Pettit Settlement] so that national uniform products

 can be produced by each defendant.” Kurtz, 414 F. Supp. 3d 317 at 336. This Settlement is in line




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 with that instruction, and materially improves on the foundation of the Pettit Settlement in several

 ways.10

                          a.     The Relief Provided in the Settlement Is Fair, Adequate, and
                                 Reasonable

           While Plaintiff has been successful so far, the future is far from certain, as the Court has

 continuously indicated. Against that background, the relief in the Settlement is very fair, especially

 in light of the unique Grinnell factors.

           First, while the Pettit Settlement awarded $0.60 per purchase for a maximum recovery of

 $4.20 (or seven packages), this Settlement provides $0.70 per purchase for a maximum recovery of

 $6.30 (or nine packages) for those Settlement Class Members without a Proof of Purchase.

 Settlement Agreement ¶ 4.4. This is an 11% improvement on a per-package basis and—due also

 to the increased number of allowed purchases—a 50% improvement on a maximum recovery basis

 over the Pettit Settlement. Cf. Dkt. No. 351-6.

           Second, Settlement Class Members with Proof of Purchase are receiving an even greater

 amount beyond that provided to Pettit Class members. Instead of only $0.60 per package with a

 maximum recovery of $30.00, purchasers in New York with Proof of Purchase will receive $1.20

 for the first package and $1.00 for each additional package, for a maximum recovery of $50.20 (or

 50 packages). Settlement Agreement ¶ 4.4. This is an increase of up to $20 per Household (66.7%)

 over the Pettit Settlement. Cf. Dkt. No. 351-6.

           Indeed, the Settlement provides for a greater monetary benefit for actual damages than may

 be achieved at trial. Plaintiff’s expert—Colin Weir—has performed a detailed regression analysis

 to calculate the price premium attributable to the challenged “flushability” representations on the


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         There are no agreements pertaining to the Settlement Agreement that are required to be
 identified under Rule 23(e)(3).
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 Product and concluded that the premium is 7.95% of the purchase price of each package.

 Supplemental Declaration of Colin Weir dated July 9, 2019 (“Weir Decl.”), Dkt. No. 329 at ¶ 78.

 The average price per package sold was $4.67 during the relevant period, and thus, at trial,

 consumers might not receive more than 37 cents per package in restitution. The Settlement payment

 of between $0.70-$1.20 per package (depending on the level of Proof of Purchase) is approximately

 189% to 324% of the best-case recovery of actual damages on a per-package basis as per Weir’s

 regression analysis. And, in a contested proceeding, Settlement Class Members who lacked proof

 of purchase—which may be the majority of Settlement Class Members—might get nothing at all.

 See, e.g., Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1132 (9th Cir. 2017), cert. denied sub

 nom. ConAgra Brands, Inc. v. Briseno, 138 S. Ct. 313 (2017) (explaining that the post-trial claims

 process by which each consumers’ affidavits would “force a liability determination” as to that

 consumer).

        Furthermore, the availability of statutory damages has been heavily litigated in this case.

 Most recently, Judge Weinstein indicated that statutory damages “presents serious substantive legal

 questions,” Kurtz, 414 F. Supp. 3d at 336, indicating that statutory damages in their full amount are

 far from certain. However, given that the language of N.Y. G.B.L. § 349(h) provides that “any

 person . . . may bring an action in his own name . . . to recover his actual damages or fifty dollars,

 whichever is greater,” another possible outcome is that the Court will limit the maximum statutory

 recovery to $50 per Class Member and may require proof of purchase. In that scenario, the

 maximum recovery of $50.20 for Settlement Class Members with proof of purchase exceeds their

 maximum recovery after years of litigation. The Settlement is thus well within the range of

 reasonableness, “given the risks and delay of continued litigation measured against the value of




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 obtaining certain compensation more quickly.” See Chavarria, 875 F. Supp. 2d at 175 (internal

 citation omitted).

         Third, P&G’s changed label practices are also likely to benefit Settlement Class Members.

 Defendant has continuously argued that “flushable” has different meanings for different people,

 particularly with respect to whether or not it includes the performance of the wipe after it goes down

 the toilet. See, e.g., Dkt. No. 81 at 8-11 (arguing that the various definitions of flushability destroys

 the commonality of the class); Dkt. No. 322 at 18-19 (arguing that Mr. Weir was unable to isolate

 the impact of different definitions of flushable). By removing the representations that Freshmates

 are “septic safe” and “safe for sewer and septic systems” the Product package will no longer make

 one of the core claims that Plaintiff alleges is misleading. The value of such relief—including the

 benefit to consumers in the form of an improved marketplace—can properly be considered when

 evaluating a settlement’s fairness. See, e.g., Lane v. Facebook, Inc., 696 F.3d 811, 826 (9th Cir.

 2012) (noting that a “judicially-enforceable agreement” to maintain changed practices may be

 considered in a fairness inquiry). Thus, in addition to the monetary relief, the changed practices

 will benefit Settlement Class Members and other consumers in the future.

         Finally, the ability of the Defendant to withstand a greater judgment does not play a large

 role here. This is a substantial recovery that is fair to Settlement Class Members. See Payment

 Card I, 330 F.R.D. at 47 (“Although the Court finds that this factor weighs against a grant of final

 approval, it does not necessarily preclude a finding that the settlement is fair.”).

                         b.      The Claims Process Is Reasonable

         The notice plan and claim form comport with the procedural and substantive requirements

 of Rule 23 as this Court found in its Preliminary Approval Order (¶¶ 8-9). Indeed, the nearly

 identical notice plan and claim form were approved by the court in the Pettit Action. Under Rule


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 23, due process requires that class members receive notice of the settlement and an opportunity to

 be heard and participate in the litigation. See Fed. R. Civ. P. 23(c)(2)(B); Phillips Petroleum Co. v.

 Shutts, 472 U.S. 797 (1985); Eisen v. Carlisle and Jacquelin, 417 U.S. 156, 175-76 (1974)

 (“individual notice must be provided to those class members who are identifiable through

 reasonable effort”). The Rules require that this Court “direct to class members the best notice that

 is practicable under the circumstances.” Fed. R. Civ. P. 23(c)(2)(B). The mechanics of the notice

 process are left to the discretion of the Court, subject only to the broad reasonableness standards

 imposed by due process. Visa, U.S.A., 396 F.3d at 113-14 (“The standard for the adequacy of a

 settlement notice in a class action under either the Due Process Clause or the Federal Rules is

 measured by reasonableness.”). “[N]otice must fairly apprise the prospective members of the class

 of the terms of the proposed settlement and of the options that are open to them in connection with

 the proceeding.” Id. at 114 (citation and internal quotation marks omitted). The recent amendments

 to Rule 23 clarify that electronic means may be used. Fed. R. Civ. P. 23(c)(2).

        The notice plan was designed to reach an estimated 72% percent of the Settlement Class

 Members, on average notice of 2.8 times each. Settlement Agreement, Ex. A. Notice has been

 provided to the Settlement Class as follows: (1) print publication in People Magazine in the April

 20, 2020 issue; (2) online advertising designed to reach consumers of the Product, including

 targeted display advertising to followers of Charmin’s Facebook page, to individuals in New York

 State where research identifies the greatest use of the Product, and to individuals who conduct

 searches of keywords, such as “Freshmates”; and (3) a nationwide press release. See id. All of

 these notices were designed to refer Settlement Class Members to the Settlement Website

 (https://www.belfiorewipesettlement.com/), which contained the Long Form Notice in both

 downloadable PDF format and HTML format with a clickable table of contents; answers to



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 frequently asked questions; a Contact Information page that includes the address for the Claim

 Administrator and Class Counsel; the Settlement Agreement; the signed order of Preliminary

 Approval and the publicly filed motion papers and declarations in support thereof; a downloadable

 and online version of the Claim Form; a downloadable and online version of the form by which

 putative Settlement Class Members may exclude themselves from the Settlement Class; and (in the

 next few days) the publicly filed motion for final approval and Plaintiff’s application for attorneys’

 fees, costs and a Class Representative Payment, with supporting declarations. See id.

        The notice plan is reasonable and comports with due process.             As explained in the

 declaration from the proposed Claim Administrator (the same one used to administer the Pettit

 Settlement), this multi-communication method is the best notice practicable and is reasonably

 designed to reach Settlement Class Members. MIP Prelim. Decl. Ex. 3 (Finegan Decl. ¶ 4); see

 2018 Advisory Comm. Note, Amended Rules, p. 16 (“courts and counsel have begun to employ

 new technology to make notice more effective”); Hecht v. United Collection Bureau, Inc., 691 F.3d

 218, 224 (2d Cir. 2012) (“Constructive notice by publication may be sufficient to satisfy due process

 ‘as to persons whose whereabouts or interests c[an] not be determined through due diligence’”

 (citing In re Agent Orange, 818 F.2d 145, 168 (2d Cir. 1987)); Zink v. First Niagara Bank, N.A.,

 155 F. Supp. 3d 297, 314 (W.D.N.Y. 2016) (“To the extent . . . that individual members cannot be

 identified, notice by publication is sufficient.”); see also In re Netflix Privacy Litig., No. 5:11-CV-

 00379 EJD, 2012 U.S. Dist. LEXIS 93284, at *13-14 (N.D. Cal. July 5, 2012) (approving notice

 procedure that included emailing customers at last known email address, publication in People

 Magazine, and advertising on Facebook).

        Direct notice to the Settlement Class is not a reasonable method of notice, as the Product is

 sold through third-party retailers, and P&G does not have records of purchaser identities. See In re



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 MetLife Demutualization Litig., 262 F.R.D. 205, 208 (E.D.N.Y. 2009) (“The best practicable notice

 under the circumstances is notice by publication in newspapers. In view of the millions of members

 of the class, notice to class members by individual postal mail, email, or radio or television

 advertisements, is neither necessary nor appropriate. The publication notice ordered is appropriate

 and sufficient in the circumstances.”); Gonzalez v. City of New York, 396 F. Supp. 2d 411, 416

 (S.D.N.Y. 2005) (“Though publication notice is not sufficient when the names and addresses of

 potential class members can be ascertained . . . [i]t is not necessary that every class member receive

 actual notice, so long as class counsel acted reasonably in selecting means likely to inform persons

 affected.” (citation omitted)).

        Moreover, the notices provide all the requisite information: they inform Settlement Class

 Members about the proposed Settlement; their right to opt out or object; the need to file a claim; a

 summary of settlement benefits; the prospective request for attorneys’ fees, costs and payments to

 the Plaintiff; and the fact that they will be bound by the judgment if they do not opt out.11 The

 notices also refer Settlement Class Members to the Settlement Website where they can obtain the

 detailed long- form notice.

        Settlement Class Members who seek benefits under the Settlement need to fill out a simple

 Claim Form online unless they are submitting the actual label or bar code portion of the Product as

 Proof of Purchase. They also have the option to print copies and mail the Claim Form to the Claim

 Administrator. The Claim Form can be completed in a few minutes.




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    Pursuant to Federal Rule of Civil Procedure 23(c)(2)(B), a notice must concisely and clearly state
 in plain, easily understood language the nature of the action; the definition of the class certified; the
 class claims, issues, or defenses; that a class member may enter an appearance through counsel if
 the member so desires; that the court will exclude from the class any member who requests
 exclusion, stating when and how members may elect to be excluded; and the binding effect of a
 class judgment on class members under Rule 23(c)(3).
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        The fact that nearly 40,000 claim forms have already been submitted, and Settlement Class

 Members have been communicating with the Claims Administrator and/or Plaintiff’s Counsel,

 demonstrates that the Notice Program has been effective. MIP Final Decl. ¶ 36.

 II.    THE REQUEST FOR ATTORNEYS’ FEES AND REIMBURSEMENT OF
        EXPENSES, AND CLASS REPRESENTATIVE PAYMENT, SHOULD BE
        GRANTED

        Plaintiff now applies to the Court for a modest Class Representative Payment from P&G of

 $10,000. Plaintiff’s Counsel also applies to the Court to approve payment from P&G of their

 reasonable attorneys’ fees, costs, and expenses in a total amount of $3.2 million, which is more than

 $2 million less than the actual lodestar and costs incurred by Plaintiff’s Counsel. Specifically, as

 of May 31, 2020, Plaintiff’s Counsel has spent in excess of 7,500 hours working on this litigation,

 and its lodestar is greater than $5 million. See MIP Final Decl., Ex. 1. In addition, Plaintiff’s

 Counsel has incurred in excess of $200,000 in expenses. MIP Final Decl. ¶ 33. Each of these

 requests is reasonable, has been met with no objection by the Class to date, and should now be

 approved by the Court.

        A.      The Request for Attorneys’ Fees Should Be Granted

        Courts increasingly use the lodestar method for calculating attorneys’ fees in a claims-made

 settlement. See, e.g., McLaughlin v. IDT Energy, No. 14 CV 4107 (ENV)(RML), 2018 U.S. Dist.

 LEXIS 128347, at *47-48 (E.D.N.Y. July 30, 2018) (“the lodestar method better accommodates the

 policy concerns in settling class actions on a claims-made basis”); see also Chen v. Select Income

 REIT, No. 18-CV-10418 (GBD) (KNF), 2019 U.S. Dist. LEXIS 177687, at *50-51 (S.D.N.Y. Oct.

 11, 2019) (“This is not a common fund case, since no common fund exists from which attorneys’

 fees are sought; thus, the percentage method for calculating reasonable attorneys’ fees does not

 apply.”). However, “[i]rrespective of which method is used, the ‘Goldberger factors’ ultimately


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 determine the reasonableness” of an attorney’s fee award in a class action settlement. Simerlein v.

 Toyota Motor Corp., No. 3:17-cv-1091 (VAB), 2019 U.S. Dist. LEXIS 96742, at *69 (D. Conn.

 June 10, 2019) (citing Visa, U.S.A., 396 F.3d at 121)); accord Berni v. Barilla G. e R. Fratelli,

 S.p.A., 332 F.R.D. 14, 34 (E.D.N.Y. June 3, 2019) (“Given that the settlement establishes no

 common fund, the Court will utilize the lodestar method. . . . [but e]ven when relying on the lodestar

 method in a class action settlement, the Court is ‘guided by the traditional criteria in determining a

 reasonable common fund fee . . . .’” (quoting Goldberger, 209 F.3d at 47)).

        Further simplifying matters, in a case such as this “where the attorneys’ fees are to be paid

 directly by defendant and, thus, money paid to the attorneys is entirely independent of money

 awarded to the class, the Court’s fiduciary role in overseeing the award is greatly reduced, because

 there is no conflict of interest between attorneys and class members.” Pearlman v. Cablevision Sys.

 Corp., CV 10-4992 (JS) (AKT), 2019 U.S. Dist. LEXIS 142222, at *12 (E.D.N.Y. Aug. 20, 2019)

 (internal quotation and citation omitted). Application of the Goldberger factors under this relaxed

 standard shows that Plaintiff’s attorneys’ fee and expense request, amounting to less than 60% of

 the already reasonable lodestar figure, is appropriate.

                1.      The Fee Is Reasonable Under the Lodestar Method

        Lodestar is calculated by multiplying the number of hours that counsel expended by a

 reasonable hourly rate. Maley v. Del Global Techs. Corp., 186 F. Supp. 2d 358, 370 (S.D.N.Y.

 2002). “[M]arket rates, where available, are the ideal proxy” for an attorney’s compensation.

 Goldberger, 209 F.3d at 52. Courts use attorneys’ current rates to calculate the lodestar figure to

 account for the delayed payment and inflation. See, e.g., Missouri v. Jenkins by Agyei, 491 U.S.

 274, 283-84 (1989); LeBlanc-Sternberg v. Fletcher, 143 F.3d 748, 764 (2d Cir. 1998) (noting

 current rates should be applied to compensate for the delay in payment).



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        Plaintiff’s Counsel have spent 7,596 hours prosecuting the Action, producing a total lodestar

 amount of $5,407,974.50 based on standard hourly rates. No attorneys are billed in excess of their

 standard hourly rates, which have been accepted by courts in other contingency cases and are

 charged to (and paid by) hourly clients. MIP Final Decl. ¶ 30; see Luciano v. Olsten Corp., 109

 F.3d 111, 115 (2d Cir. 1997) (“The ‘lodestar’ figure should be ‘in line with those [rates] prevailing

 in the community for similar services by lawyers of reasonably comparable skill, experience, and

 reputation.’”). Plaintiffs’ Counsel’s hourly rates are market rates for lawyers of similar quality

 litigating matters of similar magnitude in New York City. See, e.g., In re Credit Default Swaps

 Antitrust Litig., No. 13md2476, 2016 U.S. Dist. LEXIS 54587, at *17 (S.D.N.Y. Apr. 25, 2016)

 (approving partner rates of $834 to $1,125 and associate rates of $411 to $714 as requested in Dkt.

 No. 118 therein); McLaughlin, 2018 U.S. Dist. LEXIS 128347, at *49 (“The Second Circuit has

 also permitted district courts to use higher out-of-district rates, or some rate in between the higher

 out-of-district rate sought and the rates charged by local attorneys, ‘if it is clear that a reasonable,

 paying client would have paid those higher rates.’” (citing Arbor Hill Concerned Citizens

 Neighborhood Ass’n v. County of Albany, 522 F.3d 182, 191 (2d Cir. 2007)). Plaintiff’s Counsel’s

 hourly rates are presumptively reasonable here because P&G has agreed not to oppose this fee

 request, and fees will not be taken from a common fund. As this court has recently observed in

 another consumer action:

                The hourly rates Class Counsel generally charge are at the very high end of
                the range (and in some cases are above the range) of what courts in the
                Eastern District of New York typically award in complex cases. Yet, courts
                have approved, in class actions where the defendants have agreed to pay
                the specific attorneys’ fees, a lodestar based on billable rates of between
                $405 and $790 for partners and $270 to $500 for associates. . . . As in the
                instant action, the attorneys’ fees in [similar cases] were not drawn from
                the settlement fund, but rather were separate and apart from the settlement
                payments to class members and were consented to by the defendants in
                those cases. Although this feature, namely, separation of fee award from

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                 class benefits, means that the award does not directly erode the benefits
                 offered to class members, in that same vein, the benefit of a decrease in the
                 award by the Court will inure to the benefit of [the defendant].

 Pearlman, 2019 U.S. Dist. LEXIS 142222, at *16-17 (collecting cases). Pearlman approved rates

 in line with those requested here (accounting for multipliers). See id.

         In this case, Plaintiff’s Counsel request a total fee of $2,997,161.93,12 equating to a

 $2,410,812.57 reduction to their lodestar. Cf. Morris v. Affinity Health Plan, Inc., 859 F. Supp. 2d

 611, 623-24 (S.D.N.Y. 2012) (“Courts regularly award lodestar multipliers from 2 to 6 times

 lodestar.”) (emphasis added) (collecting cases)).13 Plaintiff’s Counsel’s request is especially

 reasonable in light of this pre-negotiated deep discount to lodestar.

                 2.      The Goldberger Factors Confirm that the Requested Fee Is Reasonable

         Regardless of fee method, courts examine the reasonableness of a fee request under the

 following Goldberger factors: ‘“(1) the time and labor expended by counsel; (2) the magnitude and

 complexities of the litigation; (3) the risk of the litigation . . . ; (4) the quality of representation; (5)

 the requested fee in relation to the settlement; and (6) public policy considerations.’” Goldberger,

 209 F.3d at 50. Each confirms the requested fee is reasonable.

                         a.       Plaintiff’s Counsel’s Investment of Time Favors the Request

         Plaintiff’s Counsel have devoted 7,596 hours prosecuting the Action. MIP Final Decl. ¶ 31

 and Ex. 1. The requested fee is $2,410,812.57 (~44%) less than the usual market value of their


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        The Settlement Agreement provides for an application of attorneys’ fees, costs, and
 expenses not to exceed $3,200,000. Settlement Agreement ¶ 7.1. Plaintiff’s Counsel seeks the
 reimbursement of costs and expenses of $202,838.07. The total application less expenses results
 in $2,997,161.93 in attorneys’ fees.
 13
    Even under the percentage method (not applicable here because there is no common fund),
 Plaintiff’s fee request would be appropriate, “because procedurally, it was negotiated separately
 from the class members’ recovery.” Seekamp v. It’s Huge, Inc., No. 1:09-CV-0018 (LEK/CFH),
 2014 U.S. Dist. LEXIS 174657, at *4 (N.D.N.Y. Dec. 18, 2014) (approving fee that amounted to
 45% of class recovery).
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 time. The work done by Plaintiff’s Counsel in this case is described above and in the accompanying

 declaration of Matthew Insley-Pruitt (MIP Final Decl.). Four attorneys each devoted over one

 thousand hours to this matter, in addition to the hundreds of hours contributed by other attorneys

 and support staff. MIP Final Decl. Ex. 1. This investment of time spanned six years of litigation

 through various procedural phases. MIP Final Decl. ¶ 3. This enormous amount of time was

 necessary due to the size and complexity of the case and the many motions and appeals it involved,

 justifying the requested fee award. In addition to the time already spent, Plaintiff’s Counsel will

 continue to devote many hours to administering the Settlement; but do not seek fees for any

 additional hours. See In re Facebook, Inc. IPO Sec. & Derivative Litig., No. MDL No. 12-2389,

 2015 U.S. Dist. LEXIS 152668, at *27 (S.D.N.Y. Nov. 9, 2015) (considering counsel’s future

 efforts to oversee the claims process in awarding fee).

                        b.      The Magnitude and Complexity of the Case Favors the Request

        In cases that require more expertise, a larger award is warranted to the lawyers who can

 competently bring and prosecute the case. Goldberger, 209 F.3d at 55. This was a case of

 considerable magnitude and complexity, as already set forth in Part I(B)(1) supra. See generally

 MIP Final Decl. It involved review of more than 80,000 pages of documents, litigation of class

 certification, multiple days of evidentiary hearings with testimony of multiple expert witnesses, two

 trips to the Second Circuit, communication with a Federal agency (the FTC), and coordination with

 the 49-state Pettit Action and its settlement, among other complicating factors. See id. ¶¶ 6, 12, 13,

 19, 20, 23, 27. In short, it was challenging, even for counsel highly experienced in some of the

 largest and most complex consumer class actions.




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                        c.      The Litigation Risks Favor the Request

        “The Second Circuit has recognized that the risk associated with a case undertaken on a

 contingent basis is an important factor in determining an appropriate fee award.” City of Providence

 v. Aeropostale, Inc., No. 11 Civ. 7132(CM)(GWG), 2014 WL 1883494, at *14 (S.D.N.Y. May 9,

 2014). The “litigation risk must be measured as of when the case is filed.” Goldberger, 209 F.3d at

 55. As discussed above, Plaintiff’s Counsel faced significant risks in proving liability, class-wide

 impact, and damages, and actually litigated each of these issues, none of which had a guaranteed

 outcome. See MIP Final Decl. ¶¶ 4 (motions to dismiss and strike class allegations); 11 (opposition

 to class certification); 14 (statutory damages and primary jurisdiction issues); 17 (renewed motion

 to dismiss, opposition to class certification, and motion for summary judgment); 19 (Second Circuit

 appeal); 22 (motion to decertify the class); 24-25 (renewed opposition to class certification); 26

 (another Second Circuit appeal). Plaintiff’s Counsel represented Plaintiff and the Settlement Class

 on a purely contingent basis, investing considerable time and money in the prosecution of the

 Action without any guarantee that the investments would ever be repaid, favoring an enhancement

 to any fee award. See Maley, 186 F. Supp. 2d at 372 (“Class counsel undertook a substantial risk

 of absolute non-payment in prosecuting this action, for which they should be adequately

 compensated”); see also Goldberger, 209 F.3d at 54 (the risk of the litigation is “perhaps the

 foremost factor to be considered in determining whether to award an enhancement” (quotation

 omitted)).

                        d.      The Quality of Representation Favors the Request

         “[T]he quality of representation is best measured by results.” Goldberger, 209 F.3d at 55;

 see also Maley, 186 F. Supp. 2d at 373 (‘“The critical element . . . is the result obtained.’”). The

 excellent results here reflect the quality of the lawyering, and both the Plaintiff and the Settlement


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 Class have indicated their agreement. E.g. Declaration of Anthony Belfiore (“Belfiore Decl.”)14

 ¶¶ 5 (“I believe that the recovery in this action from the proposed settlement is an excellent result

 for the Class, given the circumstances.”); 6 (“I completely support Class Counsel’s requests.”); MIP

 Final Decl. ¶ 36 (no objections to the fee and expense application by Class Members). Again, this

 Settlement is considerably more favorable than the 49-State Pettit Settlement, and provides for a

 greater monetary benefit for actual damages than may be achieved at trial even under Plaintiff’s

 “best case” scenario—an excellent result warranting a commensurate fee. See Belfiore Decl. ¶¶ 5-

 6; Weir Decl. ¶ 78.

                          e.      The Fee Is Reasonable in Relation to the Settlement

           The relation of the fee to the Settlement has been discussed above. Plaintiff’s Counsel’s

 request for attorneys’ fees is reasonable and consistent with approved awards by courts in this

 District and elsewhere in similar cases. Supra Part II(A)(1).

                          f.      The Fee Is Reasonable Given Public Policy Considerations

           This factor also favors Plaintiff’s Counsel’s fee request. “[P]ublic policy militates in favor

 of [a] fee in light of the role that consumer protection class actions play in regulating the

 marketplace.” Seekamp, 2014 U.S. Dist. LEXIS 174657, at *5. This Settlement builds on the Pettit

 Settlement by securing P&G’s agreement to remove that part of the current Product label that says

 “septic safe” and “safe for sewers and septic systems,” and extends P&G’s obligation under the

 Pettit Settlement for another two years from the Effective Date of this Settlement which will benefit

 consumers. Preliminary Approval Order at 3.




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      The Belfiore Decl. is attached as Exhibit 4 to the MIP Final Decl.

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        B.      The Request for Reimbursement of Litigation Expenses Should Be Granted

        “Just as attorneys may recover reasonable attorneys’ fees in a certified class action, they

 may also recover ‘nontaxable costs.’ . . . Costs may include items such as ‘photocopying, travel,

 telephone costs, witness fees, long distance faxes, transcript requests necessary for post-trial

 motions and costs of necessary depositions.’” Pearlman, 2019 U.S. Dist. LEXIS 142222 at *24

 (citing Fed. R. Civ. P. 23(h) and collecting cases). Compensable expenses broadly include

 “reasonable expenses normally charged to a fee paying client.” See generally 5 Newberg On Class

 Actions §16:5 (5th ed.) (collecting cases).

        To date, Plaintiff’s Counsel have incurred $202,838.27 in litigation expenses and costs in

 prosecuting the Action. MIP Final Decl. ¶¶ 32-34 & Ex. 2 (expense summary by category). This

 amount primarily includes on-line research costs, expert consultant fees, photocopying and other

 expenses relating to the claims in this Action.         Id.   Such expenses are regularly granted

 reimbursement by courts. See Pearlman, 2019 U.S. Dist. LEXIS 142222, at *24; In re Virtus Inv.

 Partners, Inc., No. 15cv1249, 2018 U.S. Dist. LEXIS 205304, at *14 (S.D.N.Y. Dec. 4, 2018).

 Importantly, the expenses are being paid directly by the Defendants, and not coming from the

 benefits derived for Settlement Class Members.

        C.      The Lead Plaintiff Award Should be Granted

        “Courts in this circuit regularly approve service awards, ranging from as low as $1,000 to

 as high as $25,000, in consumer class action settlements; generally, however, awards between

 $1,000 and $10,000 are more typical.” McLaughlin, 2018 U.S. Dist. LEXIS 128347, at *20-21.

 Incentive awards are common and are properly awarded even when the lead plaintiffs “do not

 appear to have been exposed to any particular risk,” because nevertheless “they have taken extra

 efforts to prosecute the action.” Berni v. Barilla G. e R. Fratelli, S.p.A., 332 F.R.D. 14, 37 (E.D.N.Y.


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 June 3, 2019); see also McLaughlin, 2018 U.S. Dist. LEXIS 128347, at *45 (awarding $6,000

 incentive fee even where lead plaintiff assumed no risk and brought no special expertise). 15 The

 amount of $10,000 here is well within the “typical” range of awards to plaintiffs cited above.

        Here, Plaintiff Belfiore aided Plaintiff’s Counsel in successfully prosecuting this litigation

 and reaching a settlement, including locating and forwarding responsive documents and

 information, providing discovery, communicating with counsel, and attending Court hearings.

 Belfiore Decl. ¶ 4. Mr. Belfiore also sat for a full-day deposition, and his wife and plumber (who

 removed wipes that got stuck in the pipes of Belfiore’s home, for which Belfiore incurred a $526

 plumbing bill) both sat for half-day depositions. MIP Final Decl. ¶ 8; Belfiore Decl. ¶ 3. Further,

 Mr. Belfiore, with his counsel, stayed at Plaintiff’s home on a weekday to allow P&G’s plumbing

 expert and one of its attorneys to inspect the toilet and pipes in his home in which the Product got

 stuck. MIP Final Decl. ¶ 8. The on-premises inspection included P&G’s plumbing expert snaking

 a camera through the pipes in Plaintiff’s home and opening up a part of his basement floor. Id. The

 requested payment for Mr. Belfiore is designed to compensate him for (1) the time and effort

 undertaken by him and his wife in pursuing this Action (including the risk of liability for the costs

 of suit); and (2) Plaintiff’s agreeing to a release broader than the one that will bind other Settlement

 Class Members (compare Settlement Agreement ¶¶ 9.1 & 9.2). See Belfiore Decl. ¶ 7 (estimating

 that Mr. Belfiore spent in excess of fifty (50) hours on this matter).

                                            CONCLUSION

        Based on the reasons discussed above, Plaintiff respectfully requests that the Court (1)

 certify the Settlement Class for settlement purposes; (2) grant final approval of the proposed



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   Class representative payments were approved for all seventeen (17) Pettit Class representatives.
 Pettit Action, Dkt. No. 135 ¶ 28.

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 Settlement; and (3) approve the request for attorneys’ fees and reimbursement of expenses, and the

 Class Representative Payment.

 DATED: June 11, 2020

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